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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                    Case No. 1:07-cr-213
v.
                                                    HONORABLE PAUL L. MALONEY
SANDRA JONES,

                  Defendant.
_________________________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States

Magistrate Judge Hugh W. Brenneman, Jr. in this action. The Report and Recommendation was

duly served on the parties, and no objection has been made thereto within the time required by

law.

       THEREFORE, IT IS ORDERED that:

       1.     The Report and Recommendation of the Magistrate Judge (Dkt. #129) is approved

and adopted as the opinion of the Court.

       2.     Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count Two of the First Superseding Indictment.

       3.     The written plea agreement is hereby continued under advisement pending

sentencing.


Date: February 15, 2008                              /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    United States District Judge
